         Case 5:16-cv-00257-OLG Document 169 Filed 02/13/20 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                                                                     FILED
                                   SAN ANTONIO DIVISION                                  FEB 1 32020
                                                                               CLERK.   U.S. DISTRICT   COURT
                                                                               WESTERN     DISTR         TEXAS
JARROD STRINGER, et. al.
                                                                                                         CRK
V.



RUTH HUGHS, in her official capacity                      CIVIL NO. SA-20-CV-46-OG
as Texas Secretary of State and STEVEN C.                       [LEAD CASE]
McCRAW, in his official capacity as
Director of the Texas Department of
Public Safety


JARROD STRINGER, et. al.


V.                                                        CIVIL NO. SA-16-CV-257-OG
                                                                [RELATED]
ROLANDO PABLOS, in his official
capacity as Texas Secretary of State
and STEVEN C. McCRAW, in his official
capacity as Director of the Texas Department
of Public Safety

                                                 [1JIIJ1$i1

        Pending before the Court is Plaintiffs' motion for expedited discovery. Docket no. 166.

Given the lack of clarity on issues that may have an impact on further preliminary injunctive relief,

and given the time restraints in addressing these issues, the Court finds that Plaintiffs' motion for

expedited discovery should be GRANTED.'

        The proposed expedited discovery is necessary and appropriate, and Defendants may, if they

wish, engage in reciprocal discovery on the issue of standing.2 The parties must confer and schedule




       'The Court notes that the exigency of these proceedings increases every time Defendants claim that
any modification in process will take "months, a year, or more." Perhaps some sense of urgency on
Defendants' part will benefit both sides.

         2Defendants challenge the standing of both Plaintiffs and Plaintiff-Intervenors. Both Plaintiffs and
Plaintiff-Intervenors are seeking preliminary injunctive relief, and Defendants may take the depositions of
all movants on the issue of standing.
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depositions at a mutually agreeable place and time. Ifthe parties cannot agree, the Court will choose

a time and place. All 30(b)(6) representatives will come to the depositions ready to proceed on the

designated topics and will produce the documents listed in any duces tecum request. The expedited

discovery ordered herein must be completed by March 30, 2020.

       SIGNED and ENTERED this
                                       (
                                           )day of February, 2020.


                                              ORLANDO L. GARCIA
                                              CHIEF U.S. DISTRICT JUDGE




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